                SIXTH DISTRICT COURT OF APPEAL
                       STATE OF FLORIDA
                      _____________________________

                           Case No. 6D2023-1861
                      Lower Tribunal No. 22-CF-014094
                      _____________________________

                         CLIFTON LEMANZ SEAWRIGHT,

                                  Appellant,
                                       v.

                              STATE OF FLORIDA,

                                   Appellee.
                      _____________________________

                 Appeal from the Circuit Court for Lee County.
                              Bruce Kyle, Judge.

                                August 27, 2024

PER CURIAM.

      AFFIRMED.

TRAVER, C.J., and NARDELLA and WHITE, JJ., concur.


Howard L. “Rex: Dimmig, II, Public Defender, and Rachel Paige Roebuck, Assistant
Public Defender, Bartow, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and David Campbell, Assistant
Attorney General, Tampa, for Appellee.


 NOT FINAL UNTIL TIME EXPIRES TO FILE MOTION FOR REHEARING
          AND DISPOSITION THEREOF IF TIMELY FILED
